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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION
 _________________________________________
                                                   )
 CENTER FOR BIOLOGICAL DIVERSITY;                  )
 MANASOTA-88, INC; PEOPLE FOR                      )
 PROTECTING PEACE RIVER; and                       )
 SUNCOAST WATERKEEPER,                             )
                                                   )
 Plaintiffs,                                       )
                                                   )
 v.                                                )  Civ. No. 8:17-cv-00618-SDM-MAP
                                                   )
 U.S. ARMY CORPS OF ENGINEERS;                     )
 LT. GEN. TODD T. SEMONITE, in his                 )
 official capacity as Commanding General and       )
 Chief of Engineers of the U.S. Army Corps of      )
 Engineers; COL. JASON A. KIRK, in his             )
 official capacity as District Commander of the    )
 U.S. Army Corps of Engineers; U.S.                )
 DEPARTMENT OF THE INTERIOR;                       )
 RYAN ZINKE, in his official capacity as           )
 Secretary of the U.S. Department of the Interior; )
 U.S. FISH AND WILDLIFE SERVICE; and               )
 JIM KURTH, in his official capacity as            )
 Acting Director of U.S. Fish and Wildlife         )
 Service,                                          )
                                                   )
 Federal Defendants,                               )
                                                   )
 and                                               )
                                                   )
 MOSAIC FERTILIZER, LLC,                           )
                                                   )
 Intervenor.                                       )
 _________________________________________ )

       FEDERAL DEFENDANTS’ ANSWER TO PLAINTIFFS’ FIRST AMENDED
          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                    I. INTRODUCTION

        Defendants U.S. Army Corps of Engineers (“Corps”), Lt. Gen. Todd T. Semonite, in his

 official capacity as Commanding General and Chief of Engineers of the U.S. Army Corps of


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 Engineers; Col. Jason A. Kirk, in his official capacity as District Commander of the U.S. Army

 Corps of Engineers; U.S. Department of the Interior, Ryan Zinke, in his official capacity as

 Secretary of the U.S. Department of the Interior, U.S. Fish and Wildlife Service, and Jim Kurth,

 in his official capacity as Acting Director of U.S. Fish and Wildlife Service (collectively, the

 “Federal Defendants”) hereby respond to the correspondingly numbered paragraphs of the

 Plaintiffs’ Complaint for Declaratory and Injunctive Relief (the “Complaint”) filed by Plaintiffs

 Center for Biological Diversity, Manasota-88, Inc., People for Protecting Peace River, and

 Suncoast Waterkeeper (collectively, “Plaintiffs”) on June 2, 2017 (ECF No. 52), as follows:

        1.      With respect to the allegations in the first sentence of Paragraph 1, Federal

 Defendants admit that the Corps issued a Clean Water Act Section 404 Department of Army

 Permit, Number SAJ-1993-01395, which authorizes the discharge of dredged or fill material into

 1,218.5 acres of waters of the United States within a 20-year construction window for the

 approximately 7,513-acre South Pasture Extension phosphate mine. Federal Defendants also

 admit that the project is located in the Peace River watershed, within the 1.32 million-acre

 Central Florida Phosphate District, an area that some historical documents refer to as “Bone

 Valley.” The remaining allegations are Plaintiffs’ characterization of their case and legal

 conclusions to which no response is required. The allegations in the first sentence of Paragraph 1

 also purport to characterize the Corps’ National Environmental Policy Act (“NEPA”) analysis,

 which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 allegation inconsistent with the analysis’ plain language, meaning, or context. To the extent a

 response is required, Federal Defendants deny the remaining allegations in the first sentence of

 Paragraph 1. The allegations in the second sentence of Paragraph 1 are legal conclusions to




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 which no response is necessary. To the extent a response is required, Federal Defendants deny

 the allegations in the second sentence of Paragraph 1.

        2.      With respect to the allegations in Paragraph 2, Federal Defendants admit that

 Florida’s ecological resources include rural locales, grassy prairies and wetlands, and diverse

 wildlife. Federal Defendants further admit that panthers, wood storks, Eastern indigo snakes, are

 among the wildlife known to occur in certain areas of Florida. The remaining allegations in

 Paragraph 2 are vague and ambiguous, such that Federal Defendants are without knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 2,

 and on that basis deny them.

        3.      The allegations in Paragraph 3 are vague and ambiguous, such that Federal

 Defendants are without knowledge or information sufficient to form a belief as to the truth of the

 allegations in Paragraph 3, and on that basis deny them.

        4.      The allegations in Paragraph 4 are vague and ambiguous, such that Federal

 Defendants are without knowledge or information sufficient to form a belief as to the truth of the

 allegations in Paragraph 4, and on that basis deny them. The allegations in Paragraph 4 also are

 Plaintiffs’ characterization of their case to which no response is required. To the extent a

 response is required, Federal Defendants deny the allegations in Paragraph 4.

        5.      The allegations in Paragraph 5 purport to characterize federal statutes, which

 speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 allegation inconsistent with the federal statutes’ plain language, meaning, or context.

        6.      The allegations in Paragraph 6 are Plaintiffs’ characterization of their case and

 legal conclusions to which no response is required. To the extent a response is required, Federal

 Defendants deny the allegations in Paragraph 6.




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        7.      The allegations in Paragraph 7 are Plaintiffs’ characterization of their case and

 legal conclusions to which no response is required. To the extent a response is required, Federal

 Defendants deny the allegations in Paragraph 7.

        8.      The allegations in Paragraph 8 are Plaintiffs’ characterization of their case and

 legal conclusions to which no response is required. To the extent a response is required, Federal

 Defendants deny the allegations in Paragraph 8.

        9.      The allegations in Paragraph 9 are Plaintiffs’ characterization of their case and

 legal conclusions to which no response is required. To the extent a response is required, Federal

 Defendants deny the allegations in Paragraph 9. Federal Defendants deny that Plaintiffs are

 entitled to the relief sought or to any relief whatsoever.

                                                II. PARTIES

        10.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 10, and on that basis deny them.

        11.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 11, and on that basis deny them.

        12.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 12, and on that basis deny them.

        13.     Federal Defendants deny the allegations in Paragraph 13.

        14.     Federal Defendants deny the allegations in Paragraph 14.

        15.     Federal Defendants deny the allegations in Paragraph 15.

        16.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 16, and on that basis deny them.




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        17.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 17, and on that basis deny them.

        18.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 18, and on that basis deny them.

        19.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 19, and on that basis deny them.

        20.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 20, and on that basis deny them.

        21.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 21, and on that basis deny them.

        22.     Federal Defendants deny the allegations in Paragraph 22.

        23.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 23, and on that basis deny them.

        24.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 24, and on that basis deny them.

        25.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 25, and on that basis deny them.

        26.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 26, and on that basis deny them.

        27.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 27, and on that basis deny them.

        28.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 28, and on that basis deny them.




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        29.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 29, and on that basis deny them.

        30.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 30, and on that basis deny them.

        31.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 31, and on that basis deny them.

        32.     Federal Defendants deny the allegations in Paragraph 32.

        33.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 33, and on that basis deny them.

        34.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 34, and on that basis deny them.

        35.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 35, and on that basis deny them.

        36.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 36, and on that basis deny them.

        37.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 37, and on that basis deny them.

        38.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 38, and on that basis deny them.

        39.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 39, and on that basis deny them.

        40.     Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 40, and on that basis deny them.




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        41.      Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in the first sentence of Paragraph 41, and on that basis

 deny them. In response to the allegations in the second sentence of Paragraph 41, Federal

 Defendants admit that the State of Florida has designated as a Florida wild and scenic river that

 portion of the Myakka River located between State Road 780 in Sarasota County and the

 Sarasota-Charlotte County line. In response to the third sentence of Paragraph 41, Federal

 Defendants admit that the Manatee River and Peace River supply public drinking water. The

 remaining allegations in the second and third sentences of Paragraph 41 are Plaintiffs’

 characterization of their case to which no response is required. To the extent a response is

 required, Federal Defendants deny the remaining allegations in the second and third sentences of

 Paragraph 41.

        42.      Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 42, and on that basis deny them.

        43.      Federal Defendants deny the allegations in Paragraph 43.

        44.      Federal Defendants deny the allegations in Paragraph 44.

        45.      Federal Defendants admit the first sentence of Paragraph 45. The allegations in

 the second sentence of Paragraph 45 purport to characterize a federal statute, which speaks for

 itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the federal statute’s plain language, meaning, or context.

        46.      In response to the allegations in Paragraph 46, Federal Defendants admit that

 Lieutenant General Todd T. Semonite is Chief of Engineers and Commanding General of the

 U.S. Army Corps of Engineers, and that Colonel Jason A. Kirk is the Commander and District

 Engineer of the U.S. Army Corps of Engineers, Jacksonville District. The remaining allegations




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 in Paragraph 46 are Plaintiffs’ characterization of their case and legal conclusions to which no

 response is required. To the extent a response is required, Federal Defendants deny the remaining

 allegations in Paragraph 46.

        47.     Federal Defendants admit the allegations in Paragraph 47.

        48.     Federal Defendants admit the allegations in the first sentence of Paragraph 48.

 The allegations in the second and third sentences of Paragraph 48 are Plaintiffs’ characterization

 of their case and legal conclusions to which no response is required. To the extent a response is

 required, Federal Defendants deny the allegations.

        49.     In response to the allegations in Paragraph 49, Federal Defendants admit that the

 Service is a federal agency within the Department of the Interior charged with implementing and

 ensuring compliance with the Endangered Species Act (“ESA”) for non-marine species. The

 remaining allegations in Paragraph 49 are Plaintiffs’ characterization of their case and legal

 conclusions to which no response is required. To the extent a response is required, Federal

 Defendants deny the remaining allegations in Paragraph 49.

        50.     Federal Defendants admit the allegations in the first sentence of Paragraph 50.

 The allegations in the second and third sentences of Paragraph 50 are Plaintiffs’ characterization

 of their case and legal conclusions to which no response is required. To the extent a response is

 required, Federal Defendants deny the allegations.

        51.     The allegations in Paragraph 51 are legal conclusions to which no response is

 required. To the extent a response is required, Federal Defendants deny the allegations.

        52.     In response to the allegations in Paragraph 52, Federal Defendants admit that the

 Corps and Service are agencies of the federal government. The remaining allegations in

 Paragraph 52 are Plaintiffs’ characterization of their case and legal conclusions to which no




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 response is required. To the extent a response is required, Federal Defendants deny the remaining

 allegations in Paragraph 52.

                                   III. JURISDICTION AND VENUE

        53.     The allegations in Paragraph 53 are Plaintiffs’ characterization of their case to

 which no response is required. To the extent a response is required, Federal Defendants deny the

 allegations in Paragraph 53.

        54.     The allegations in Paragraph 54 are Plaintiffs’ legal conclusions to which no

 response is required. To the extent a response is required, Federal Defendants deny the

 allegations in Paragraph 54.

        55.     The allegations in Paragraph 55 are Plaintiffs’ legal conclusions to which no

 response is required. To the extent a response is required, Federal Defendants deny the

 allegations in Paragraph 55.

        56.     In response to the allegations in Paragraph 56, Federal Defendants admit that they

 received Plaintiffs’ letter dated December 20, 2016 with the reference line: “Sixty-Day Notice of

 Endangered Species Act Violations Concerning Threatened and Endangered Species in the

 Central Florida Phosphate District and South Pasture Phosphate Mine Extension Project Area.”

 The remaining allegations in Paragraph 56 are Plaintiffs’ characterization of their case and legal

 conclusions to which no response is required. To the extent a response is required, Federal

 Defendants deny the allegations in Paragraph 56.

 57.    In response to the allegations in the first sentence of Paragraph 57, Federal Defendants

 admit that venue is proper in this judicial district and that the Federal Defendants are agencies of

 the United States. The remaining allegations in the first sentence of Paragraph 57 are Plaintiffs’

 characterization of their case and legal conclusions to which no response is required. To the




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 extent a response is required, Federal Defendants deny the remaining allegations in the first

 sentence of Paragraph 57. Due to vagueness and ambiguity Federal Defendants are without

 knowledge or information sufficient to form a belief as to the truth of the allegations in the

 second sentence of Paragraph 57, and on that basis deny them.

        58.     The allegations in Paragraph 58 are Plaintiffs’ legal conclusions to which no

 response is required. To the extent a response is required, Federal Defendants deny the

 allegations in Paragraph 58.

                  IV. STATUTORY AND REGULATORY FRAMEWORKS

 A. CLEAN WATER ACT

        59.     The allegations in Paragraph 59 purport to characterize and quote federal statutes,

 which speak for themselves and are the best evidence of their contents. Federal Defendants deny

 any allegation inconsistent with the federal statutes’ plain language, meaning, or context.

        60.     The allegations in Paragraph 60 purport to characterize and quote a federal

 statute, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the federal statute’s plain language, meaning, or context.

        61.     The allegations in Paragraph 61 purport to characterize federal regulations, which

 speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 allegation inconsistent with the federal regulations’ plain language, meaning, or context.

        62.     The allegations in the first sentence of Paragraph 62 purport to characterize and

 quote federal regulations, which speak for themselves and are the best evidence of their contents.

 Federal Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context. The allegations in the second sentence of Paragraph 62 purport to

 characterize a federal statute and federal regulations, which speak for themselves and are the best




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 evidence of their contents. Federal Defendants deny any allegation inconsistent with the federal

 statute and federal regulations’ plain language, meaning, or context.

        63.     The allegations in Paragraph 63 are Plaintiffs’ characterization of their case and

 legal conclusions to which no response is required. To the extent a response is required, Federal

 Defendants deny the allegations in Paragraph 63.

        64.     The allegations in Paragraph 64 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        65.     The allegations in Paragraph 65 purport to characterize and quote portions of a

 federal regulation, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the federal regulation’s plain language,

 meaning, or context.

        66.     The allegations in Paragraph 66 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        67.     The allegations in Paragraph 67 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        68.     The allegations in Paragraph 68 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants




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 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        69.     The allegations in Paragraph 69 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.

        70.     The allegations in Paragraph 70 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        71.     The allegations in Paragraph 71 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.

        72.     The allegations in Paragraph 72 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.

 B. NATIONAL ENVIRONMENTAL POLICY ACT

        73.     The allegations in Paragraph 73 purport to characterize and quote a federal statute

 and a federal regulation, which speak for themselves and are the best evidence of their contents.

 Federal Defendants deny any allegation inconsistent with the federal statute and federal

 regulation’s plain language, meaning, or context.




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        74.     The allegations in Paragraph 74 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        75.     The allegations in Paragraph 75 purport to characterize and quote a federal statute

 and federal regulations, which speak for themselves and are the best evidence of their contents.

 Federal Defendants deny any allegation inconsistent with the federal statute and federal

 regulations’ plain language, meaning, or context.

        76.     The allegations in the first sentence of Paragraph 76 are Plaintiffs’ legal

 conclusions to which no response is required. The allegations in the second sentence of

 Paragraph 76 purport to characterize and quote a federal regulation, which speaks for itself and is

 the best evidence of its contents. Federal Defendants deny any allegation inconsistent with the

 federal regulation’s plain language, meaning, or context.

        77.     The allegations in Paragraph 77 are Plaintiffs’ characterization of their case and

 legal conclusions to which no response is required. To the extent a response is required, Federal

 Defendants deny the allegations in Paragraph 77. The allegations in Paragraph 77 also purport to

 characterize a federal regulation, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the federal regulation’s plain language,

 meaning, or context.

        78.     The allegations in Paragraph 78 are Plaintiffs’ characterization of their case and

 legal conclusions to which no response is required. The allegations in Paragraph 78 also purport

 to characterize federal regulations, which speak for themselves and are the best evidence of their




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 contents. Federal Defendants deny any allegation inconsistent with the federal regulations’ plain

 language, meaning, or context.

        79.     The allegations in Paragraph 79 purport to characterize federal regulations, which

 speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 allegation inconsistent with the federal regulations’ plain language, meaning, or context.

        80.     The allegations in Paragraph 80 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.

        81.     The allegations in Paragraph 81 purport to characterize federal regulations, which

 speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 allegation inconsistent with the federal regulations’ plain language, meaning, or context.

        82.     The allegations in Paragraph 82 purport to characterize federal regulations, which

 speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 allegation inconsistent with the federal regulations’ plain language, meaning, or context.

        83.     The allegations in Paragraph 83 purport to characterize and quote a federal

 statute, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the federal statute’s plain language, meaning, or context.

        84.     The allegations in Paragraph 84 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.




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        85.     The allegations in Paragraph 85 purport to characterize and quote federal statutes

 and regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal statutes and regulations’ plain

 language, meaning, or context.

        86.     The allegations in Paragraph 86 are Plaintiffs’ legal conclusions to which no

 response is required. To the extent a response is required, Federal Defendants deny the

 allegations in Paragraph 86. The allegations in Paragraph 86 also purport to characterize federal

 statutes and regulations, which speak for themselves and are the best evidence of their contents.

 Federal Defendants deny any allegation inconsistent with the federal statutes and regulations’

 plain language, meaning, or context.

        87.     The allegations in Paragraph 87 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        88.     The allegations in Paragraph 88 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        89.     The allegations in Paragraph 89 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.




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        90.     The allegations in Paragraph 90 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        91.     The allegations in Paragraph 91 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        92.     The allegations in Paragraph 92 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        93.     The allegations in Paragraph 93 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.

        94.     The allegations in Paragraph 94 purport to characterize and quote a Federal

 Register notice, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the Federal Register notice’s plain language,

 meaning, or context.

        95.     The allegations in Paragraph 95 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants




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 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        96.     The allegations in Paragraph 96 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in the second and third sentences of Paragraph 96 also

 purport to characterize an unspecified “body of law under NEPA” and a federal regulation,

 which speak for themselves and are the best evidence of their contents. Federal Defendants deny

 any allegation inconsistent with the unspecified body of law and federal regulation’s plain

 language, meaning, or context.

        97.     The allegations in Paragraph 97 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.

        98.     The allegations in Paragraph 98 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 98 also purport to characterize a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        99.     The allegations in Paragraph 99 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.

        100.    The allegations in Paragraph 100 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 100 also purport to characterize and quote




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 federal case law, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the cases’ plain language, meaning, or context.

        101.    The allegations in Paragraph 101 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.

        102.    The allegations in Paragraph 102 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        103.    The allegations in Paragraph 103 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 103 also purport to characterize a federal

 statute and regulations, which speaks for themselves and are the best evidence of their contents.

 Federal Defendants deny any allegation inconsistent with the federal statute and regulations’

 plain language, meaning, or context

 C. ENDANGERED SPECIES ACT

        104.    The allegations in Paragraph 104 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 104 also purport to characterize and quote a

 court decision and federal statute, which speak for themselves and are the best evidence of their

 contents. Federal Defendants deny any allegation inconsistent with the court decision and federal

 statute’s plain language, meaning, or context.

        105.    The allegations in Paragraph 105 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 105 also purport to characterize a federal




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 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        106.    The allegations in Paragraph 106 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 106 also purport to characterize and quote

 federal statutes, federal regulations, and a Senate Report, which speak for themselves and are the

 best evidence of their contents. Federal Defendants deny any allegation inconsistent with the

 federal statutes, federal regulations, and Senate Report’s plain language, meaning, or context.

        107.    The allegations in Paragraph 107 purport to characterize and quote a federal

 statute, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the federal statute’s plain language, meaning, or context.

        108.    The allegations in Paragraph 108 purport to characterize and quote a federal

 statute and federal regulations, which speak for themselves and are the best evidence of their

 contents. Federal Defendants deny any allegation inconsistent with the federal statute and federal

 regulations’ plain language, meaning, or context.

        109.    The allegations in Paragraph 109 purport to characterize and quote federal

 regulations, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the federal regulations’ plain language,

 meaning, or context.

        110.    The allegations in Paragraph 110 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.




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        111.    The allegations in Paragraph 111 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        112.    The allegations in Paragraph 112 purport to quote a federal regulation, which

 speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the federal regulation’s plain language, meaning, or context.

        113.    The allegations in Paragraph 113 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        114.    The allegations in Paragraph 114 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        115.    The allegations in Paragraph 115 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        116.    The allegations in Paragraph 116 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.




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        117.    The allegations in Paragraph 117 purport to characterize and quote a federal

 regulation and federal statute, which speak for themselves and are the best evidence of their

 contents. Federal Defendants deny any allegation inconsistent with the federal regulation and

 federal statute’s plain language, meaning, or context.

        118.    The allegations in the first sentence of Paragraph 118 are Plaintiffs’ legal

 conclusions to which no response is required. To the extent a response is required, Federal

 Defendants deny the allegations in the first sentence of Paragraph 118. The allegations in the

 second sentence of Paragraph 118 purport to characterize and quote a federal statute, which

 speaks for itself and is the best evidence of its contents. The allegations in the third sentence of

 Paragraph 118 purport to characterize and quote a federal regulation, which speaks for itself and

 is the best evidence of its contents. Federal Defendants deny any allegation inconsistent with the

 federal statute and federal regulation’s plain language, meaning, or context.

        119.    The allegations in Paragraph 119 purport to characterize and quote a federal

 statute and a federal regulation, which speak for themselves and are the best evidence of their

 contents. Federal Defendants deny any allegation inconsistent with the federal statute and federal

 regulation’s plain language, meaning, or context.

        120.    The allegations in Paragraph 120 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        121.    The allegations in Paragraph 121 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants




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 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        122.    The allegations in the first sentence of Paragraph 122 purport to characterize and

 quote a federal regulation, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the federal regulation’s plain language,

 meaning, or context. The allegations in the second sentence of Paragraph 122 are Plaintiffs’

 characterization of their case and legal conclusions to which no response is required. To the

 extent a response is required, Federal Defendants deny the allegations in the second sentence of

 Paragraph 122.

        123.    The allegations in Paragraph 123 purport to characterize and quote a federal

 regulation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the federal regulation’s plain language, meaning, or

 context.

        124.    The allegations in Paragraph 124 purport to characterize and quote a federal

 statute, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the federal statute’s plain language, meaning, or context.

        125.    The allegations in the first and second sentences of Paragraph 125 purport to

 characterize and quote a federal statute, which speaks for itself and is the best evidence of its

 contents. Federal Defendants deny any allegation inconsistent with the federal statute’s plain

 language, meaning, or context. The allegations in the third sentence of Paragraph 125 are

 Plaintiffs’ legal conclusions to which no response is required. The allegations in the third

 sentence of Paragraph 125 also purport to characterize and quote a federal regulation, which




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 speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the federal regulation’s plain language, meaning, or context.

        126.    The allegations in Paragraph 126 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 126 also purport to characterize a federal

 statute, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the federal statute’s plain language, meaning, or context.

 D. ADMINISTRATIVE PROCEDURE ACT

        127.    The allegations in Paragraph 127 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 127 also purport to characterize a federal

 statute, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the federal statute’s plain language, meaning, or context.

        128.    The allegations in Paragraph 128 purport to characterize and quote a federal

 statute, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the federal statute’s plain language, meaning, or context.

        129.    The allegations in Paragraph 129 purport to quote a federal statute, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the federal statute’s plain language, meaning, or context.

        130.    The allegations in Paragraph 130 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 130 also purport to characterize a federal

 statute, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the federal statute’s plain language, meaning, or context.




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        131.    The allegations in Paragraph 131 are Plaintiffs’ legal conclusions to which no

 response is required. To the extent a response is required, Federal Defendants deny the

 allegations in the second sentence of Paragraph 131.

        132.    The allegations in Paragraph 132 are Plaintiffs’ legal conclusions to which no

 response is required. To the extent a response is required, Federal Defendants deny the

 allegations in Paragraph 132. Federal Defendants aver that the Corps issued a Record of

 Decision for the South Pasture Extension Department of Army permit that is supported, in part,

 by the Final Areawide Environmental Impact Statement.

        133.    The allegations in Paragraph 133 are Plaintiffs’ legal conclusions to which no

 response is required. The allegations in Paragraph 133 also purport to characterize a federal

 statute, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the federal statute’s plain language, meaning, or context.

 V. FACTUAL AND PROCEDURAL BACKGROUND
        134.    The allegations in the first sentence of Paragraph 134 are vague and ambiguous,

 such that Federal Defendants are without knowledge or information sufficient to form a belief as

 to the truth of the allegations in the first sentence of Paragraph 134, and on that basis deny them.

 The allegations in the second and third sentences purport to characterize uncited statutes which

 speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 allegations inconsistent with the plain language, meaning, or context of those uncited statutes.

 The remaining allegations in the first, second, third, and fourth sentences of Paragraph 134 are

 Plaintiffs’ characterization of their case and legal conclusions to which no response is required.

 To the extent a response is required, Federal Defendants deny the remaining allegations in the

 first, second, third, and fourth sentences of Paragraph 134.




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 A. PHOSPHATE MINING IN FLORIDA

        135.    The allegations in Paragraph 135 are vague and ambiguous, such that Federal

 Defendants are without knowledge or information sufficient to form a belief as to the truth of the

 allegations in Paragraph 135, and on that basis deny them. Federal Defendants aver that for

 phosphate mining operations in the Central Florida Phosphate District, prior to clearing each

 mining unit, the permittee typically conducts pre-clearing biological surveys and other ecological

 management and monitoring actions required by permits, installs erosion and sediment controls,

 installs monitoring wells and piezometers, and installs necessary infrastructure including the

 ditch and berm system that protects adjacent areas.

        136.    In response to the first sentence of Paragraph 136, Federal Defendants admit that

 a dragline is a very large excavator used by phosphate mining operations to conduct earthwork

 movement to support the mining operations, and deny all remaining allegations. In response to

 the second sentence of Paragraph 136, Federal Defendants admit that it is possible for certain

 draglines to mine approximately 15 acres in one month, and deny all remaining allegations. The

 allegations in the third and fourth sentences of Paragraph 136 are vague and ambiguous, such

 that Federal Defendants are without knowledge or information sufficient to form a belief as to

 the truth of the allegations in the third and fourth sentences of Paragraph 136, and on that basis

 deny them.

        137.    Federal Defendants admit that the allegations in Paragraph 137 generally describe

 part of the matrix excavation and conveyance practices in the Central Florida Phosphate District,

 and deny any remaining allegations.




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        138.    Federal Defendants admit the allegations in Paragraph 138 generally describe a

 part of the matrix excavation and conveyance practices in the Central Florida Phosphate District,

 and deny any remaining allegations.

        139.    The allegations in Paragraph 139 are vague and ambiguous, such that Federal

 Defendants are without knowledge or information sufficient to form a belief as to the truth of the

 allegations in Paragraph 139, and on that basis deny them.

        140.    Federal Defendants admit the allegations in the first sentence of Paragraph 140

 insofar as they generally describe the phosphate mine clay settling areas in the Central Florida

 Phosphate District, and deny any remaining allegations. The allegations in the second and third

 sentences of Paragraph 140 are vague and ambiguous, such that Federal Defendants are without

 knowledge or information sufficient to form a belief as to the truth of the allegations in

 Paragraph 140, and on that basis deny them. Federal Defendants further deny the allegations in

 the second and third sentences of Paragraph 140 to the extent they relate to current practices in

 the Central Florida Phosphate District.

        141.    In response to the allegations in the first sentence of Paragraph 141, Federal

 Defendants admit that some phosphate ore may be transported offsite to a fertilizer plant and

 converted to phosphoric acid, that one process for the conversion is to react phosphate rock with

 sulfuric acid to produce the phosphoric acid, and that phosphoric acid may be used in synthetic

 fertilizer, and deny all remaining allegations. In response to the allegations in the second

 sentence of Paragraph 141, Federal Defendants admit that a byproduct of the conversion of

 phosphate ore to phosphoric acid is phosphogypsum, which is radioactive, and deny all

 remaining allegations. The allegations in the third and fourth sentences of Paragraph 141 also

 purport to characterize unspecified EPA requirements, which speak for themselves and are the




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 best evidence of their contents. Federal Defendants deny any allegation inconsistent with the

 unspecified EPA requirements’ plain language, meaning, or context. Federal Defendants admit

 the fifth sentence of Paragraph 141. The allegations in the sixth sentence of Paragraph 141 are

 vague and ambiguous, such that Federal Defendants are without knowledge or information

 sufficient to form a belief as to the truth of the allegations in the sixth sentence of Paragraph 141,

 and on that basis deny them.

        142.    Federal Defendants deny the allegations in Paragraph 142.

        143.    The allegations in the first sentence of Paragraph 143 are vague and ambiguous,

 such that Federal Defendants are without knowledge or information sufficient to form a belief as

 to the truth of the allegations, and on that basis deny them. The allegations in the first sentence of

 Paragraph 143 are also legal conclusions to which no response is required. To the extent a

 response is required, Federal Defendants deny the allegations in the first sentence of Paragraph

 143. The allegations in the second sentence of Paragraph 143 purports to characterize a

 settlement agreement, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the settlement agreement’s plain language,

 meaning, or context.

        144.    The allegations in Paragraph 144 purports to characterize an unattributed news

 report, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the news report’s plain language, meaning, or context.

        145.    In response to the allegations in Paragraph 145, Federal Defendants admit that the

 permittee’s facilities in central Florida include, but are not limited to, the Bartow, New Wales,

 and Riverview facilities. Federal Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations in Paragraph 145, and on that basis deny




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 them. Federal Defendants aver that the permitted project does not require that the phosphate rock

 generated through beneficiation be transported out of the area to any particular fertilizer plant.

        146.    Federal Defendants admit the allegations in Paragraph 146.

 B. THE AREAWIDE ENVIRONMENTAL IMPACT STATEMENT

 Project Description

        147.    Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 147, and on that basis deny them.

        148.    In response to the allegations in Paragraph 148, Federal Defendants admit that the

 Corps published a “Notice of Intent To Prepare a Draft Areawide Environmental Impact

 Statement for Phosphate Mining Affecting Waters of the United States in the Central Florida

 Phosphate District (CFPD)” on February 18, 2011, and later published a Draft Areawide

 Environmental Impact Statement. The remaining allegations in the first and second sentences of

 Paragraph 148 purport to characterize a Notice of Intent and Draft Areawide Environmental

 Impact Statement, which speak for themselves and are the best evidence of their contents.

 Federal Defendants deny any allegation inconsistent with the Notice of Intent and Draft

 Areawide Environmental Impact Statement’s plain language, meaning, or context. In response to

 the third sentence of Paragraph 148, the Corps admits that after publication of the Draft

 Areawide Environmental Impact Statement, the Corps held two public meetings in June 2012,

 and deny the remaining allegations.

        149.    Federal Defendants admit the allegations in Paragraph 149.

        150.    Federal Defendants admit the first, second, third, and fourth sentences of

 Paragraph 150. Federal Defendants deny the fifth sentence of Paragraph 150. Federal Defendants

 aver that the State of Florida has designated as a Florida wild and scenic river that portion of the




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 Myakka River located between State Road 780 in Sarasota County and the Sarasota-Charlotte

 County line.

         151.   The allegations in Paragraph 151 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context

         152.   Federal Defendants admit the allegations in Paragraph 152.

         153.   The allegations in Paragraph 153 purport to characterize the Draft Areawide

 Environmental Impact Statement and Final Areawide Environmental Impact Statement, which

 speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 allegation inconsistent with the Draft Areawide Environmental Impact Statement and Final

 Areawide Environmental Impact Statement’s plain language, meaning, or context.

         Phosphogypsum
         154.   In response to allegations in Paragraph 154, Federal Defendants admit that there

 are phosphogypsum stacks located in the Central Florida Phosphate District. The remaining

 allegations are vague and ambiguous, such that Federal Defendants are without knowledge or

 information sufficient to form a belief as to the truth of the allegations, and on that basis deny

 them.

         155.   Federal Defendants admit that the Corps determined the four proposed phosphate

 mines have independent utility from the existing fertilizer plants in the Central Florida Phosphate

 District, and deny the remaining allegations in Paragraph 155.

         156.   Federal Defendants are without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 156, and on that basis deny them.




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        157.    The allegations in Paragraph 157 purport to characterize the Corps’ analysis in the

 Final Areawide Environmental Impact Statement, which speaks for itself and is the best evidence

 of its contents. Federal Defendants deny any allegation inconsistent with the Final Areawide

 Environmental Impact Statement’s plain language, meaning, or context.

        158.    The allegations in the first sentence of Paragraph 158 purport to characterize the

 Final Areawide Environmental Impact Statement, which speaks for itself and is the best evidence

 of its contents. Federal Defendants deny any allegation inconsistent with the Final Areawide

 Environmental Impact Statement’s plain language, meaning, or context. Federal Defendants

 deny the allegations in the second sentence of Paragraph 158.

        159.    The allegations in Paragraph 159 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        160.    The allegations in Paragraph 160 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        161.    Federal Defendants deny the allegations in Paragraph 161.

 Project Purpose & Alternatives Analysis

        162.    The allegations in Paragraph 162 purport to characterize and quote the Final

 Areawide Environmental Impact Statement, which speaks for itself and is the best evidence of its

 contents. Federal Defendants deny any allegation inconsistent with the Final Areawide

 Environmental Impact Statement’s plain language, meaning, or context.




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        163.    The allegations in Paragraph 163 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        164.    The allegations in Paragraph 164 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        165.    The allegations in Paragraph 165 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        166.    The allegations in Paragraph 166 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        167.    The allegations in Paragraph 167 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        168.    The allegations in Paragraph 168 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.




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 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        169.    The allegations in Paragraph 169 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

 Environmental Impacts

        170.    The allegations in Paragraph 170 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        171.    The allegations in Paragraph 171 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        172.    In response to the allegations of the first sentence of Paragraph 172, Federal

 Defendants admit that the gopher tortoise (Gopherus polyphemus), which is both a state-listed

 species and a candidate for listing under the ESA, has been observed in the study area during

 past surveys. Federal Defendants also admit that the bald eagle, which is protected under the

 Federal Bald and Golden Eagle Protection Act, has also been observed in the study area during

 past surveys. In response to the allegations of the second sentence of Paragraph 172, Federal

 Defendants admit that other state-listed species that have been observed in the Central Florida

 Phosphate District during past surveys include the southeastern American kestrel (Falco




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 sparverius paulus), Florida sandhill crane (Grus canadensis pratensis), gopher frog (Rana

 capito), burrowing owl (Athene cunicularia), little blue heron (Egretta caerulea), snowy egret

 (Egretta thula), tricolored heron (Egretta tricolor), white ibis (Eudocimus albus), Florida mouse

 (Podomys floridanus), and Sherman’s fox squirrel (Sciurus niger shermani). Federal Defendants

 deny the remaining allegations in Paragraph 172.

        173.    The allegations in Paragraph 173 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Final Areawide Environmental

 Impact Statement’s plain language, meaning, or context.

        174.    The allegations in Paragraph 174 are Plaintiffs’ characterization of their case to

 which no response is required. To the extent a response is required, Federal Defendants deny the

 allegations in Paragraph 174.

 C. THE SOUTH PASTURE EXTENSION MINE ENVIRONMENTAL ASSESSMENT

        175.    Federal Defendants admit the first sentence of Paragraph 175. The allegations in

 the second sentence of Paragraph 175 purport to characterize the State of Florida’s unspecified

 designation, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the unspecified designation’s plain language, meaning, or

 context. The allegations in the third sentence of Paragraph 175 purport to characterize an

 unspecified EPA document, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the unspecified EPA document’s plain

 language, meaning, or context.

        176.    In response to the allegations in the first sentence of Paragraph 176, Federal

 Defendants admit that the Department of Army Permit provides a 20-year construction window




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 for the approximately 7,513-acre South Pasture Extension phosphate mine, which is located

 south of the existing South Pasture mine, and that the permittee will hydraulically transport the

 matrix to the existing South Pasture mine beneficiation plant, and deny all remaining allegations.

 Federal Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the allegations in the second sentence of Paragraph 176, and on that basis deny them.

        177.    Federal Defendants deny the allegations in the first and fourth sentences of

 Paragraph 177. Federal Defendants admit the allegations in the second and third sentences of

 Paragraph 177.

        178.    In response to the allegations in Paragraph 178, Federal Defendants admit that the

 Corps issued a Public Notice for the South Pasture Extension application on June 1, 2012, and

 that the Environmental Protection Agency issued Notice of Availability for the Draft Areawide

 Environmental Impact Statement on June 1, 2012. The remaining allegations in the first and

 second sentences of Paragraph 178 purport to characterize a Public Notice and Notice of

 Availability, which speak for themselves and are the best evidence of their contents. Federal

 Defendants deny any allegation inconsistent with the Public Notice and Notice of Availability’s

 plain language, meaning, or context. Federal Defendants deny the allegations in the third

 sentence of Paragraph 178.

        179.    The allegations in Paragraph 179 are Plaintiffs’ characterization of their case to

 which no response is required. The allegations in the first sentence of Paragraph 179 purport to

 quote the Draft Areawide Environmental Impact Statement, which speaks for itself and is the

 best evidence of its contents. Federal Defendants deny any allegation inconsistent with the Draft

 Areawide Environmental Impact Statement’s plain language, meaning, or context. To the extent

 a response is required, Federal Defendants deny the allegations in Paragraph 179.




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        180.    The allegations in Paragraph 180 purport to quote the Draft Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with the Draft Areawide Environmental

 Impact Statement’s plain language, meaning, or context. Federal Defendants deny any allegation

 inconsistent with the document’s plain language, meaning, or context.

        181.    The allegations in Paragraph 181 purport to quote an unspecified document,

 which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 allegation inconsistent with the document’s plain language, meaning, or context.

        182.    In response to the allegations in the first sentence of Paragraph 182, Federal

 Defendants admit that the Corps released a Supplemental Environmental Assessment, Draft

 Clean Water Act Section 404(b)(1) Guidelines Analysis, and Draft Public Interest Review for

 Department of the Army (DA) Permit Application SAJ-1993-01395 (“Supplemental EA”) on

 June 16, 2016. The remaining allegations in the first sentence of Paragraph 182 purport to

 characterize the Corps’ Supplemental EA, which speaks for itself and is the best evidence of its

 contents. Federal Defendants deny any allegation inconsistent with the Supplemental EA’s plain

 language, meaning, or context. In response to the allegations in the second and third sentences of

 Paragraph 182, Federal Defendants admit that the Corps issued Department of Army Permit

 Number SAJ-1993-01395 (SP-JPF) (“Permit”) on November 15, 2016. The remaining

 allegations in the second and third sentences of Paragraph 182 purport to characterize the Permit,

 which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 allegation inconsistent with the Permit’s plain language, meaning, or context.

        183.    The allegations in Paragraph 183 purport to characterize the Draft Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.




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 Federal Defendants deny any allegation inconsistent with the Draft Areawide Environmental

 Impact Statement’s plain language, meaning, or context. Federal Defendants deny the

 allegations in Paragraph 183.

 D. THE RECORD OF DECISION AND STATEMENT OF FINDINGS FOR THE SOUTH
 PASTURE EXTENSION MINE

        184.    In response to the allegations in Paragraph 184, Federal Defendants admit that the

 Corps issued a Record of Decision and Statement of Findings for Department of the Army (DA)

 Permit Application SAJ-1993-01395 (the “ROD”), and deny the remaining allegations. Federal

 Defendants aver that the ROD was issued November 10, 2016, and was supported not only by

 the Supplemental EA, but also the Final Areawide Environmental Impact Statement and the

 Addendum dated July 2013.

        185.    The allegations in Paragraph 185 purport to characterize and quote the ROD,

 which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 allegation inconsistent with the ROD’s plain language, meaning, or context.

        186.    The allegations in Paragraph 186 purport to characterize and quote the ROD,

 which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 allegation inconsistent with the ROD’s plain language, meaning, or context.

        187.    The allegations in Paragraph 187 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        188.    The allegations in Paragraph 188 purport to characterize and quote the ROD,

 which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 allegation inconsistent with the ROD’s plain language, meaning, or context.




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        189.    The allegations in Paragraph 189 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        190.    The allegations in Paragraph 190 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        191.    The allegations in Paragraph 191 contain Plaintiffs’ conclusions of law to which

 no response is required. To the extent a response is required, Federal Defendants deny the

 allegations in Paragraph 191. The allegations in Paragraph 191 also purport to characterize and

 quote the ROD and a federal regulation, which speak for themselves and are the best evidence of

 their contents. Federal Defendants deny any allegation inconsistent with the ROD and federal

 regulation’s plain language, meaning, or context.

        192.    The allegations in Paragraph 192 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        193.    The allegations in Paragraph 193 purport to characterize and quote the ROD,

 which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 allegation inconsistent with the ROD’s plain language, meaning, or context.

        194.    The allegations in Paragraph 194 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.




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        195.    The allegations in Paragraph 195 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        196.    The allegations in Paragraph 196 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        197.    The allegations in Paragraph 197 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        198.    The allegations in Paragraph 198 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        199.    The allegations in Paragraph 199 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        200.    The allegations in Paragraph 200 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        201.    The allegations in Paragraph 201 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.




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        202.    The allegations in Paragraph 202 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        203.    The allegations in Paragraph 203 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        204.    The allegations in Paragraph 204 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        205.    The allegations in Paragraph 205 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        206.    The allegations in Paragraph 206 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with Final Areawide Environmental Impact

 Statement’s plain language, meaning, or context.

        207.    The allegations in Paragraph 207 are legal conclusions to which no response is

 necessary. The allegations in Paragraph 207 also purport to characterize the public interest

 review in the ROD, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the public interest review’s plain language,

 meaning, or context.

        208.    The allegations in the first sentence of Paragraph 208 purport to characterize the

 ROD, which speaks for itself and is the best evidence of its contents. Federal Defendants deny




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 any allegation inconsistent with the ROD’s plain language, meaning, or context. The allegations

 in the second sentence of Paragraph 208 purport to characterize the Final Areawide

 Environmental Impact Statement, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with Final Areawide Environmental Impact

 Statement’s plain language, meaning, or context.

        209.    The allegations in Paragraph 209 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context.

        210.    The allegations in Paragraph 210 characterize the ROD, which speaks for itself

 and is the best evidence of its contents. Federal Defendants deny any allegation inconsistent with

 the ROD’s plain language, meaning, or context.

        211.    The allegations in Paragraph 211 purport to characterize the ROD, which speaks

 for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the ROD’s plain language, meaning, or context. Federal Defendants deny the

 allegations in the second sentence of Paragraph 211.

        212.    The allegations in Paragraph 212 characterize and quote the public interest review

 in the ROD, which speaks for itself and is the best evidence of its contents. Federal Defendants

 deny any allegation inconsistent with the public interest review’s plain language, meaning, or

 context.

        213.    The allegations in Paragraph 213 purport to characterize and quote the ROD,

 which speaks for itself and is the best evidence of its contents. Federal Defendants deny any

 allegation inconsistent with the ROD’s plain language, meaning, or context.




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        214.    The allegations in Paragraph 214 are Plaintiffs’ characterization of their case and

 legal conclusions to which no response is necessary. To the extent a response is required, Federal

 Defendants deny the allegations in Paragraph 214. The allegations in Paragraph 214 also purport

 to characterize the ROD, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the ROD’s plain language, meaning, or

 context.

        215.    The allegations in Paragraph 215 purport to characterize and quote the ROD,

 including the attached compensatory mitigation plan, which speaks for itself and is the best

 evidence of its contents. Federal Defendants deny any allegation inconsistent with the ROD’s

 plain language, meaning, or context.

        216.    The allegations in the first sentence of Paragraph 216 purport to characterize the

 compensatory mitigation plan, which speaks for itself and is the best evidence of its contents.

 Federal Defendants deny any allegation inconsistent with compensatory mitigation plan’s plain

 language, meaning, or context. The allegations in the second sentence of Paragraph 216 are

 Plaintiffs’ characterization of their case and legal conclusions to which no response is necessary.

 To the extent a response is required, Federal Defendants deny the allegations in the second

 sentence of Paragraph 216. The allegations in the second sentence of Paragraph 216 also purport

 to characterize the compensatory mitigation plan, the ROD, and a federal regulation, which

 speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 allegation inconsistent with the compensatory mitigation plan, the ROD, and the federal

 regulation’s plain language, meaning, or context.

        217.    The allegations in the first sentence of Paragraph 217 purport to characterize the

 compensatory mitigation plan, which speaks for itself and is the best evidence of its contents.




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 Federal Defendants deny any allegation inconsistent with compensatory mitigation plan’s plain

 language, meaning, or context. The allegations in the second sentence of Paragraph 217 are

 Plaintiffs’ characterization of their case and legal conclusions to which no response is necessary.

 To the extent a response is required, Federal Defendants deny the allegations in the second

 sentence of Paragraph 217. The allegations in the second sentence of Paragraph 217 also purport

 to characterize the compensatory mitigation plan, the ROD, and a federal regulation, which

 speak for themselves and are the best evidence of their contents. Federal Defendants deny any

 allegation inconsistent with the compensatory mitigation plan, the ROD, and the federal

 regulation’s plain language, meaning, or context.

        218.    Federal Defendants admit the allegations in Paragraph 218.

        219.    Federal Defendants admit the allegations in the first sentence of Paragraph 219.

 Federal Defendants deny the allegations in the second sentence of Paragraph 219.

 E. THE BIOLOGICAL OPINION
        220.    The allegations in Paragraph 220 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the biological opinion’s plain language, meaning, or context.

        221.    Federal Defendants admit the allegations in Paragraph 221.

        222.    Federal Defendants admit the allegations in Paragraph 222.

        223.    Federal Defendants admit the allegations in Paragraph 223.

        224.     In response to the allegations in the first sentence of Paragraph 224, Federal

 Defendants admit that the Service transmitted a letter to the Corps on June 9, 2014. The

 remaining allegations in the first sentence, and all of the allegations in the second sentence,

 purport to characterize that letter, which speaks for itself and is the best evidence of its contents.




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 Federal Defendants deny any allegation inconsistent with the letter’s plain language, meaning, or

 context.

        225.    The allegations in Paragraph 225 purport to characterize and quote a letter, which

 speaks for itself and is the best evidence of its contents. Federal Defendants deny any allegation

 inconsistent with the letter’s plain language, meaning, or context.

        226.    The allegations in Paragraph 226 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the biological opinion’s plain language, meaning, or context.

        227.    The allegations in Paragraph 227 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the biological opinion’s plain language, meaning, or context.

        228.    The allegations in Paragraph 228 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the biological opinion’s plain language, meaning, or context.

        229.    The allegations in Paragraph 229 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the biological opinion’s plain language, meaning, or context.

        230.    The allegations in Paragraph 230 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the biological opinion’s plain language, meaning, or context.

        231.    The allegations in Paragraph 231 purport to characterize and quote the 2014

 biological opinion, which speaks for itself and is the best evidence of its contents. Federal




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 Defendants deny any allegation inconsistent with the biological opinion’s plain language,

 meaning, or context.

        232.    The allegations in Paragraph 232 purport to characterize a study cited in the

 biological opinion, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the study’s plain language, meaning, or

 context.

        233.    The allegations in Paragraph 233 purport to characterize and quote the 2014

 biological opinion, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the biological opinion’s plain language,

 meaning, or context.

        234.    The allegations in Paragraph 234 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the biological opinion’s plain language, meaning, or context.

        235.    The allegations in Paragraph 235 purport to characterize the 2014 biological

 opinion, including an incidental take statement, and a biological assessment, which speak for

 themselves and are the best evidence of their contents. Federal Defendants deny any allegation

 inconsistent with the 2014 biological opinion, incidental take statement, and biological

 assessment’s plain language, meaning, or context.

        236.    The allegations in Paragraph 236 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the biological opinion’s plain language, meaning, or context.




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        237.    The allegations in Paragraph 237 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with the biological opinion’s plain language, meaning, or context.

        238.    The allegations in Paragraph 238 purport to characterize and quote the 2014

 biological opinion, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the biological opinion’s plain language,

 meaning, or context.

        239.    The allegations in Paragraph 239 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with biological opinion’s plain language, meaning, or context.

        240.    The allegations in Paragraph 240 purport to characterize and quote the 2014

 biological opinion, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with biological opinion’s plain language, meaning,

 or context.

        241.    The allegations in Paragraph 241 purport to characterize and quote the 2014

 biological opinion, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with biological opinion’s plain language, meaning,

 or context.

        242.    The allegations in Paragraph 242 purport to characterize and quote the 2014

 biological opinion, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with biological opinion’s plain language, meaning,

 or context.




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        Eastern indigo snake

        243.     Federal Defendants admit the allegations in Paragraph 243.

        244.     The allegations in Paragraph 244, purport to characterize a Service rule related to

 the eastern indigo snake, which speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the rule’s plain language, meaning, or context.

        245.     Federal Defendants admit the allegations in the first and second sentences of

 Paragraph 245. In response to the allegations in the third sentence, Federal Defendants admit that

 there are reports of virgin or isolated female eastern indigo snakes laying eggs. Federal

 Defendants deny the remaining allegations in the third sentence of Paragraph 245.

        246.     In response to the allegations in Paragraph 246, Federal Defendants admit the

 home range of male eastern indigo snakes is up to 805 acres, and that the eastern indigo snake is

 vulnerable to habitat loss, degradation, and fragmentation. Federal Defendants deny the

 remaining allegations in Paragraph 246.

        247.     Federal Defendants admit the allegations in Paragraph 247.

        248.     Federal Defendants admit the allegations in the first and second sentences of

 Paragraph 248. In response to the allegations in the third sentence of Paragraph 248, Federal

 Defendants aver that a positive long-term prognosis for eastern indigo snake populations is tied

 to a mosaic of land uses that include agricultural land. Federal Defendants deny the remaining

 allegations in the third sentence of Paragraph 248.

        249.     Federal Defendants admit the allegations in the first sentence of Paragraph 249.

 Federal Defendants admit the allegations in the second sentence of Paragraph 249 but aver that

 the relationship with gopher tortoises becomes stronger going from south to north, due to lower

 temperatures.




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        250.    The allegations in Paragraph 250, including the associated footnote 2, purport to

 characterize the referenced study and related maps, which speak for themselves and are the best

 evidence of their contents. Federal Defendants deny any allegation inconsistent with the study

 and related maps’ plain language, meaning, or context.

        Wood stork

        251.    Federal Defendants admit the allegations in Paragraph 251.

        252.    The allegations in Paragraph 252, including footnote 3, purport to characterize

 Fish and Wildlife Service rules related to the wood stork, which speak for themselves and are the

 best evidence of their contents. Federal Defendants deny any allegation inconsistent with the

 rules’ plain language, meaning, or context.

        253.    Federal Defendants admit the allegations in Paragraph 253.

        254.    Federal Defendants admit the allegations in Paragraph 254.

        255.    Federal Defendants admit the allegations in Paragraph 255.

        256.     Federal Defendants admit the allegations in the first and third sentences of

 Paragraph 256. The allegations in the second sentence of Paragraph 256 purport to characterize

 the referenced studies, which speak for themselves and are the best evidence of their contents.

 Federal Defendants deny any allegation inconsistent with the studies’ plain language, meaning,

 or context.

        257.    Federal Defendants admit the allegations in the first and third sentences of

 Paragraph 257. In response to the allegations in the second sentence of Paragraph 257, Federal

 Defendants admit that the manipulation of water to lower levels can decrease food production for

 wood storks and facilitate raccoon predation on nesting wood stork colonies. Federal Defendants

 deny the remaining allegations in the second sentence.




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        Audubon’s crested caracara

        258.     Federal Defendants admit the allegations in Paragraph 258.

        259.    The allegations in Paragraph 259 purport to characterize a Service rule related to

 the crested caracara, which rule speaks for itself and is the best evidence of its contents. Federal

 Defendants deny any allegation inconsistent with the rule’s plain language, meaning, or context.

        260.     Federal Defendants admit the allegations in Paragraph 260.

        261.     Federal Defendants admit the allegations in Paragraph 261.

        262.     Federal Defendants admit the allegations in Paragraph 262.

        263.     Federal Defendants admit the allegations in Paragraph 263.

                                        VI. CLAIMS FOR RELIEF

                                      FIRST CLAIM FOR RELIEF

               (Corps’ Alleged Violations of the Clean Water Act and the Administrative
                                            Procedure Act)

        264.    Federal Defendants reallege and incorporate by reference all the responses set

 forth in this Answer, as though fully set forth below.

        265.    The allegations in Paragraph 265 are Plaintiffs’ characterization of their case to

 which no response is required. To the extent a response is required, Federal Defendants deny the

 allegations in Paragraph 265.

        266.    Federal Defendants deny the allegations in Paragraph 266, including all

 subparagraphs (a) through (g).

        267.    Federal Defendants deny the allegations in Paragraph 267, including all

 subparagraphs (a) through (h).

        268.    Federal Defendants deny the allegations in Paragraph 268, including all

 subparagraphs (a) through (h).



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        269.    Federal Defendants deny the allegations in Paragraph 269.

        270.    Federal Defendants deny the allegations in Paragraph 270.

                                    SECOND CLAIM FOR RELIEF

                 (Corps’ Alleged Violations of the National Environmental Policy Act
                               and the Administrative Procedure Act)

        271.    Federal Defendants reallege and incorporate by reference all the responses set

 forth in this Answer, as though fully set forth below.

        272.    With respect to the allegations in Paragraph 272, Federal Defendants admit that

 the Corps issued Clean Water Act Section 404 Department of Army Permit, Number SAJ-1993-

 01395, and deny all remaining allegations.

        273.    Federal Defendants deny the allegations in Paragraph 273.

        274.    Federal Defendants deny the allegations in Paragraph 274, including all

 subparagraphs (a) through (j).

        275.    Federal Defendants deny the allegations in Paragraph 275.

        276.    Federal Defendants deny the allegations in Paragraph 276.

        277.    Federal Defendants deny the allegations in Paragraph 277.

                                     THIRD CLAIM FOR RELIEF

                   (The Service’s Alleged Violations of the Endangered Species Act
                               and the Administrative Procedure Act)

        278.    Federal Defendants reallege and incorporate by reference all the responses set

 forth in this Answer, as though fully set forth below.

        279.    Federal Defendants deny the allegations in Paragraph 279.

        280.    Federal Defendants deny the allegations in Paragraph 280.

        281.    Federal Defendants deny the allegations in Paragraph 281, including all

 subparagraphs (a) through (f).


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        282.    Federal Defendants deny the allegations in Paragraph 282.

        283.    The allegations in Paragraph 283 purport to characterize the 2014 biological

 opinion, which speaks for itself and is the best evidence of its contents. Federal Defendants deny

 any allegation inconsistent with biological opinion’s plain language, meaning, or context.

        284.    Federal Defendants deny the allegations in Paragraph 284.

        285.    Federal Defendants deny the allegations in Paragraph 285.

        286.    Federal Defendants deny the allegations in Paragraph 286.

        287.    Federal Defendants deny the allegations in Paragraph 287.

                                FOURTH CLAIM FOR RELIEF
                   (The Service’s Alleged Violation of the Endangered Species Act)

        288.    Federal Defendants reallege and incorporate by reference all the responses set

 forth in this Answer, as though fully set forth below.

        289.    Federal Defendants deny the allegations in Paragraph 289.

                                      FIFTH CLAIM FOR RELIEF

                    (The Corps’ Alleged Violation of the Endangered Species Act)

        290.    Federal Defendants reallege and incorporate by reference all the responses set

 forth in this Answer, as though fully set forth below.

        291.    Federal Defendants deny the allegations in Paragraph 291.

        292.    Federal Defendants deny the allegations in Paragraph 292.

        293.    Federal Defendants deny the allegations in Paragraph 293.

        294.    Federal Defendants deny the allegations in Paragraph 294.

        295.    Federal Defendants deny the allegations in Paragraph 295.

        296.    Federal Defendants deny the allegations in Paragraph 296.




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                                       VII. PRAYER FOR RELIEF

        Federal Defendants deny the allegations in Plaintiffs’ “Prayer for Relief,” including all

 subparagraphs (1) through (9). Federal Defendants further deny that Plaintiffs are entitled to the

 relief sought or to any relief whatsoever.

                                        GENERAL DENIAL

        To the extent any allegations have not been specifically addressed in the preceding

 paragraphs, the Federal Defendants hereby deny such allegations.

                                              DEFENSES

        1.      Plaintiffs fail to state a claim upon which relief may be granted.

        2.      Federal Defendants’ actions were not arbitrary, capricious, or contrary to law.

        3.      Plaintiffs are barred from raising issues that they did not raise in comments during

 the administrative process.

        4.      Plaintiffs’ claims should be dismissed to the extent they are based on an erroneous

 factual premise.

        5.      The actions challenged by Plaintiffs did not violate the Endangered Species Act,

 the Clean Water Act, the National Environmental Policy Act, the Administrative Procedure Act,

 or any other applicable law, regulation, or rule.

        6.      The Court lacks subject-matter jurisdiction over some or all of Plaintiffs’ claims.

        7.      The Complaint does not describe the claims with sufficient particularity to allow

 Federal Defendants to ascertain what other defenses may exist at this time, and therefore Federal

 Defendants reserve the right to assert all defenses which may pertain to the Complaint once it

 ascertains the precise nature of the claims in the future.




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        WHEREFORE, Federal Defendants ask that the Complaint be dismissed with prejudice

 that each of Plaintiffs’ requests for relief be denied in their entirety, and that Federal Defendants

 be awarded any additional relief the Court deems just and proper.

 Dated: June 20, 2017                           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 20, 2017, I electronically filed the foregoing with the Clerk
 of the Court by using the CM/ECF system. Counsel of record currently identified on the Mailing
 Information list to receive e mail notices for this case are served via Notices of Electronic Filing
 generated by CM/ECF.

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